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   14   Healthcare Workers West and Dave Regan    Tom Woodruff
   15
   16                           UNITED STATES DISTRICT COURT
   17                     SOUTHERN DISTRICT OF CALIFORNIA
   18
   19   PRIME HEALTHCARE SERVICES,               CASE NO. 14-CV-2553-GPC-RBB
        INC.,
   20                                            REPLY MEMORANDUM IN
                   Plaintiff,                    SUPPORT OF DEFENDANTS’
   21                                            MOTION TO DISMISS SECOND
             v.                                  AMENDED COMPLAINT
   22
        SERVICE EMPLOYEES                        DATE:      August 28, 2015
   23   INTERNATIONAL UNION; SERVICE             TIME:      1:30 p.m.
        EMPLOYEES INTERNATIONAL                  CTRM:      2D
   24   UNION – UNITED HEALTHCARE                JUDGE:     Hon. Gonzalo P. Curiel
        WORKERS WEST; CHANGE TO WIN;
   25   CTW INVESTMENT GROUP; MARY
        KAY HENRY; DAVE REGAN; and
   26   TOM WOODRUFF,
   27              Defendants.
   28
                                                                          14cv2553
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    1   I.    The LMRA § 302 and RICO Extortion Claims Based on
              Post-September 2012 Conduct Remain Legally Deficient.1
    2
              Prime’s Opposition Brief (“Opp. Br.”) thoroughly confuses the legal
    3
        question fairly presented by Defendants’ motion to dismiss the LMRA § 302 and
    4
        RICO extortion claims based on post-September 2012 conduct reasserted by Prime
    5
        in its SAC. We therefore begin by setting the record straight on this score.
    6
              According to Prime, our motion to dismiss these reasserted LMRA § 302
    7
        and RICO extortion claims is “limited” by its terms to post-September 2012
    8
        conduct “involving” the CHA-UHW Agreement, thereby embodying a tacit
    9
        “concession” that Prime has stated a claim under RICO based on “other” post-
   10
        September 2012 conduct purportedly not “involving” the CHA-UHW Agreement.
   11
        Opp. Br. at 1-2. But that ignores Prime’s own description of its theory of the case.
   12
              In fact, all post-September 2012 conduct Prime pleads to support its LMRA
   13
        § 302 and RICO extortion claims “involves” the CHA-UHW Agreement. In
   14
        suggesting otherwise, Prime drops a footnote alluding to acts of economic pressure
   15
        allegedly imposed on Prime by Defendants after September 2012, including
   16
        Defendants’ alleged efforts to block Prime’s acquisition of hospitals in several
   17
        states, and alleged “false publications” critical of Prime’s business practices. Opp.
   18
        Br. at 1 n.2. But in Prime’s LMRA § 302 and RICO extortion theory of the case,
   19
        these acts of economic pressure impose statutory liability on Defendants precisely
   20
        and only because they allegedly were undertaken to support a demand that Prime
   21
        sign the CHA-UHW Agreement. To suggest these acts of economic pressure did
   22
        not “involve” the CHA-UHW Agreement defies reality and is disingenuous.
   23
              Indeed, in its prior Order dismissing these claims, this Court described
   24
        Prime’s LMRA § 302 and RICO theory of the case in precisely these terms:
   25
              Prime Healthcare alleges that Defendants are violating both RICO and
   26         § 302 of the LMRA by demanding that Prime Healthcare sign onto an
   27   1
          Prime’s Opposition does nothing to overcome our showing, at pages 1-2 of our
        Opening Brief, that Prime’s SAC does not and cannot cure the legal deficiencies in
   28   the reasserted RICO claims based on pre-September 2012 conduct.
                                              1                                   14cv2553
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    1         “unlawful” 2014 agreement . . . [i.e., the CHA-UHW Agreement], and
              by putting economic pressure on Prime Healthcare to do so.
    2
        Order (Dkt. #70), at 15-16; see also id. at 30 (“Here, Prime Healthcare alleges that
    3
        Defendants are committing [RICO] extortion by using economic pressure to try to
    4
        coerce Prime Healthcare to sign onto the ‘unlawful’ CHA-UHW Agreement.”)
    5
        (emphasis supplied).
    6
              In its Order, this Court began by addressing Prime’s LMRA § 302 claim,
    7
        and after canvassing applicable § 302 law, held the claim legally deficient because
    8
        Prime had failed to allege facts plausibly showing that the CHA-UHW Agreement
    9
        is “unlawful.” Dkt. #70 at 17-25. Then turning to the RICO claim, and addressing
   10
        the Ninth Circuit’s recent decision in United Bhd. of Carpenters & Joiners v. Bldg.
   11
        Constr. Trades Dep’t, 770 F.3d 834 (9th Cir. 2014) (“UBC”), the Court held that
   12
        Prime’s failure to allege facts plausibly showing that the CHA-UHW Agreement is
   13
        “unlawful” doomed the RICO extortion claim as well. See Dkt. #70 at 28-31.
   14
              The Court gave Prime the opportunity to “correct the [foregoing]
   15
        deficiencies” in these claims, id. at 41; which, in context, meant that the Court
   16
        gave Prime the opportunity, not to reargue its LMRA § 302 and RICO extortion
   17
        theory of the case, but to plead, if it could, new facts plausibly showing that the
   18
        CHA-UHW Agreement is “unlawful.” Against this background, the dispositive
   19
        legal question fairly presented by Defendants’ motion to dismiss the reasserted
   20
        LMRA § 302 and RICO extortion claims is whether Prime has pled new facts
   21
        plausibly showing that the CHA-UHW Agreement is “unlawful.”
   22
              We showed at pages 2-6 of our Opening Brief that the answer to this
   23
        question is “no,” and Prime’s Opposition does nothing to overcome that showing.
   24
              One new fact Prime’s SAC pleads (which is not really a “fact” but we accept
   25
        as such for present purposes) is that CHA President Dauner exceeded his authority
   26
        and violated CHA’s By-Laws by entering into the CHA-UHW Agreement. Prime
   27
        argues this new fact shows that Dauner “is under UHW’s control” and that UHW
   28
                                               2                                   14cv2553
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    1   thus “controls” money paid into the Agreement’s Joint Advocacy Fund. Opp. Br.
    2   at 5-6. But as our Opening Brief showed, that new allegation does not support
    3   Prime’s argument. Prime merely refers the Court to its SAC’s conclusory legal
    4   assertion that UHW “has control over the monies paid into the Joint Advocacy
    5   Fund.” Opp. Br. at 9. But as this Court’s prior Order ruled, such a bald assertion
    6   of UHW “control” gets Prime nowhere. Dkt. #70 at 6 (to avoid dismissal, “the
    7   non-conclusory ‘factual content’ [of the plaintiff’s complaint], and reasonable
    8   inferences from that content, must be plausibly suggestive of a claim entitling the
    9   plaintiff to relief”) (quoting Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th
   10   Cir. 2009)) (emphasis supplied). 2
   11         Prime’s other new fact is that Medi-Cal reform is a purpose behind
   12   establishing the Joint Advocacy Fund. Prime maintains this shows that the Fund
   13   was not established for a purpose the Labor-Management Cooperation Act
   14   (“LMCA”) permits. Opp. Br. at 3-5. But, as our Opening Brief showed, this fact
   15   does not support the legal conclusion Prime advances. Id. Rather than confront
   16
   17   2
          At the outset of its Opposition, Prime cites this Court’s decision in Fontalvo v.
        Sikorsky Aircraft Corp., No. 13cv0331-GPC-KSC, 2014 WL 2809861, at *2 (S.D.
   18   Cal. June 20, 2014), for the general propositions that (1) the Court must accept as
        true all facts alleged in the complaint and draw all reasonable inferences in the
   19   plaintiff’s favor, and (2) dismissal is not warranted if the complaint alleges enough
        facts to state a plausible claim on its face. Fair enough. But immediately
   20   following the passages Prime cites is a passage that speaks with particular
        relevance and force here:
   21
              However, a plaintiff’s obligation to provide the grounds of his
   22         entitle[ment] to relief requires more than labels and conclusions, and a
              formulaic recitation of the elements of a cause of action will not do.
   23         A court need not accept legal conclusions as true. In spite of the
              deference the court is bound to pay to the plaintiff’s allegations, it is
   24         not proper for the court to assume that the [plaintiff] can prove facts
              that [he or she] has not alleged or that defendants have violated the . . .
   25         laws in ways that have not been alleged. Where a complaint pleads
              facts that are merely consistent with a defendant’s liability, it stops
   26         short of the line between possibility and plausibility of entitlement to
              relief.
   27
        Id. (internal citations and quotation marks omitted). Prime’s defense of its
   28   conclusory, formulaic allegations thus misses this Court’s clearly articulated mark.
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    1   Defendants’ showing, Prime mischaracterizes the argument as being, “that no
    2   matter how illegally they behave, their conduct is beyond the reach of this Court
    3   merely because they have referenced the LMCA in their agreement.” Opp. Br. at
    4   13. Such mischaracterizations lead Prime nowhere.
    5         In the end, Prime abandons any pretense that it has pled new facts plausibly
    6   showing that the CHA-UHW Agreement is “unlawful.” Rather, without candidly
    7   acknowledging that it is doing so, Prime adopts the altogether different tack of
    8   rearguing the key legal issues previously ruled upon by the Court in its prior Order
    9   dismissing Prime’s LMRA § 302 and RICO extortion claims without prejudice.
   10   See, e.g., Opp. Br. at 7 (arguing that, contrary to the Court’s UBC-based ruling,
   11   Dkt. #70 at 28-31, the legal sufficiency of Prime’s RICO extortion claim does not
   12   turn on whether Prime has alleged facts plausibly showing that the CHA-UHW
   13   Agreement is “unlawful”); id. at 11-12 (arguing that, contrary to the Court’s § 302
   14   case law-based ruling, Dkt. #70 at 20-25, the CHA-UHW Agreement is “unlawful”
   15   under § 302 because each side to that Agreement receives some form of benefit or
   16   “consideration” from the other).
   17         As previously noted, this Court did not grant leave to amend to afford Prime
   18   the opportunity to reargue its LMRA § 302 and RICO theory of the case; it granted
   19   leave to amend to afford Prime the opportunity, if it could, to allege new facts
   20   plausibly showing that the CHA-UHW Agreement is “unlawful.” Because Prime
   21   has failed to allege such new facts, its reasserted LMRA § 302 and RICO extortion
   22   claims remain legally deficient and should be dismissed once again.
   23   II.   Count X of the SAC, Under LMRA § 303(a) for Violation of NLRA
              § 8(b)(4)(ii)(A). Is Legally Deficient and Should Be Dismissed.
   24
              Our Opening Brief showed, at pages 11-14, that Count X is implausible,
   25
        chiefly because Prime’s allegation that the CHA-UHW Agreement creates a “de
   26
        facto multi-employer bargaining group,” under which all signatory hospitals must
   27
        bargain collectively over the terms and conditions of UHW-represented workers’
   28
                                               4                                  14cv2553
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    1   employment, is incorrect. Prime’s response as to why the CHA-UHW Agreement
    2   creates a “de facto multi-employer bargaining group,” is unpersuasive.
    3         Prime’s first argument – that “[o]n its [sic] face, the [CHA-UHW]
    4   Agreements relate to terms and conditions of employment,” Opp. Br. at 15, fails at
    5   every turn. Although not a model of clarity, Prime’s position appears to be that the
    6   CHA-UHW Agreement “relates” to collective bargaining over terms and
    7   conditions of employment because of its Joint Labor-Management Committee,
    8   Scope, and Ground Rules provisions. Not so at all.
    9         Prime’s reliance on the creation of a Joint Labor-Management Committee
   10   (“LMC”) to pursue Medi-Cal Reform, see SAC ¶¶ 17, 128, 255, 262-263, and 273,
   11   is misplaced. As our Opening Brief shows at pages 3-5 and 12, employing an
   12   LMC for such a purpose has nothing to do with collective bargaining for UHW-
   13   represented workers. Rather, it addresses reform of the legislative and regulatory
   14   system by which hospitals are reimbursed for their services. Id. Such systemic
   15   reform involving the government, insurance, and health care providers is the type
   16   of mutual concern to Labor and Management that “is not susceptible to resolution
   17   within the collective bargaining process.” See Section 6(b) of the Labor-
   18   Management Cooperation Act of 1978 (“LMCA”), 29 U.S.C. § 175a (emphasis
   19   supplied). Prime’s assertion that the establishment of an LMC to pursue such
   20   reform “relates” to collective bargaining stands reality on its head.
   21         Prime’s reliance on the Scope provisions, cited at SAC ¶¶ 300, 301, and 303,
   22   to argue that the CHA-UHW Agreement “relates” to collective bargaining is also
   23   misplaced. Simply put, nothing in the Scope provisions authorizes the LMC to
   24   engage in collective bargaining negotiations with UHW on any basis, much less on
   25   a group basis. And Prime’s reliance on the Agreement’s Ground Rules’
   26   provisions, see SAC ¶¶ 17, 289, and 292, is equally far afield. As the Court noted
   27   on page 3 of its prior Order, “the Agreement only establishes ground rules for an
   28   organizing campaign.” Thus, on their face the provisions dealing with Ground
                                               5                                 14cv2553
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    1   Rules have nothing to do with establishing multi-employer bargaining, which, by
    2   definition, can only come into existence after an organizing campaign has
    3   concluded and a labor organization has been certified or recognized as the
    4   exclusive bargaining representative. 3
    5          Prime’s second argument – that “multiple employers are signatories to the
    6   CHA-UHW agreements,” Opp. Br. at 15 – is a non sequitur. The mere fact that
    7   multiple employers have signed the CHA-UHW Agreement does not speak to the
    8   issue – or much less establish – whether the Agreement creates a “de facto multi-
    9   employer bargaining group.” Whether the Agreement does so depends on its
   10   content, not the number of employers who have signed it. And, as we have shown,
   11   Prime alleges no facts pertaining to the content of the CHA-UHW Agreement that
   12   lends any “plausibility” to its allegation that the Agreement creates a “de facto
   13   multi-employer bargaining group.”
   14          In sum, because there is no “plausibility” to Prime’s allegation that the
   15   CHA-UHW Agreement creates a “de facto multi-employer bargaining group,” its
   16   claim that Defendants are attempting to coerce Prime into joining such a group in
   17   violation of NLRA § 8(b)(4)(ii)(A) and LMRA § 303 fails as a matter of law, and
   18   Count X of the SAC should be dismissed on that ground.
   19   III.   Count XI’s LMRA § 303(a) Claim for Violating NLRA § 8(b)(4)(ii)(B)
               Is Legally Deficient and Should Be Dismissed Once Again.
   20
               At pages 31-40 of its prior Order, the Court dismissed Prime’s LMRA § 303
   21
        claims because Prime failed adequately to plead injury. But because it allowed
   22
        leave to amend, the Court also addressed coercion, holding that the allegations of
   23
        coercion were sufficient to state a claim only with regard to the SEC investigation.
   24
        Dkt. #70 at 40. As we showed in our Opening brief, at 18-21, Prime has not cured
   25
   26
        3
              Prime’s remaining citations are either conclusory (SAC ¶¶ 299, 303, and
   27   385) or inapposite (SAC ¶ 141). If the CHA-UHW Agreement does not create a
        “de facto multi-employer bargaining group,” then as a matter of law the conduct
   28   alleged at SAC ¶ 141 could not have coerced Prime to join such an entity.
                                                 6                                14cv2553
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    1   the coercion deficiencies with respect to the ERISA lawsuit or the DCHS protests,
    2   and on closer inspection has not alleged coercion with respect to the SEC
    3   investigation. But, as we show below, the Court need not reach coercion, as Prime
    4   failed to cure the lack of injury revealed by the timeline alleged in its own SAC.
    5         A.     Lack of Injury.
    6         As we showed in our Opening Brief at pages 16-17, based on the SAC’s
    7   timeline, by the time the ERISA action was filed and the SEC investigation was
    8   initiated, DCHS had already approved the sale to Prime. In other words, Prime
    9   suffered no injury from these two activities because the activities did not delay “the
   10   internal DCHS process” or require Prime to expend “time, money, and resources”
   11   to convince DCHS to approve the sale. 4
   12         For injury, Prime’s Opposition Brief, at page 23, cites to SAC ¶¶ 205-07,
   13   whose generic recitals of “direct and proximate damages” and “money, resources,
   14   and time” spent dealing with undefined “secondary conduct,” are the kind of vague
   15   and conclusory allegations the Court’s prior Order rejected. Dkt. #70 at 32-33.
   16         Prime also cites SAC ¶ 208, which does refer specifically to its perceived
   17   need to send its staff to the Attorney General hearings. With only the January
   18   protests surrounding the Attorney General hearings left to stand on, Prime invites
   19   the Court to inquire into Defendants’ “mixed motives” for protesting, and suggests
   20   such a factual inquiry is improperly resolved on a motion to dismiss. But this is a
   21   diversion. The question of motive is irrelevant if Prime fails to allege injury
   22   flowing from Defendants’ conduct. Taking Prime’s own allegations as true, see
   23   SAC ¶ 208, all of the “injuries” Prime suffered during the January protests had to
   24
   25   4
          Prime adverts to the possibility that DCHS could have backed out of the sale at
        any time, Opp. Br. at 23 n.25, but fails then to allege that it suffered damages that
   26   might stem from any efforts it undertook to avoid such a scenario. For example,
        nowhere does Prime’s SAC allege what Prime did, or how it was injured, or
   27   whether even as a result of Defendants’ conduct it needed to do anything “extra,”
        to convince DCHS to move forward with the sale to which it had already agreed.
   28   In the absence of any such allegations of injury, Prime’s argument fails.
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    1   do with “sending dozens of personnel . . . to attend the January [Attorney General]
    2   hearings over the sale of the hospitals.” Thus, the “injuries” Prime alleges are due
    3   to Defendants’ secondary activities result instead from Prime’s own participation
    4   in the hearings. Again, because Prime has not alleged facts showing that
    5   Defendants’ conduct caused it injury, Count XI should be dismissed.
    6         B.     Lack of Coercion.
    7         In any event, with regard to pleading coercion vis-à-vis the ERISA lawsuit,
    8   Prime has effectively ignored the Court’s invitation to allege any new facts to
    9   establish that the ERISA lawsuit lacks a “reasonable basis in law,” as the Court
   10   required for purposes of pleading coercion. Dkt. #70 at 38. Ceding that
   11   opportunity, Prime pivots, Opp. Br. at 22, to the argument that no such showing is
   12   required, because the ERISA lawsuit was filed with an illegal objective and thus
   13   falls within an exception to the heightened standard rule.5 Prime’s assertion
   14   simply ignores this Court’s prior holding that the lack of a reasonable basis in law
   15   is a necessary element of coercion. Dkt. #70 at 38.
   16         Having disposed of all claims related to Defendants’ ERISA or SEC
   17   complaints, Prime’s only remaining § 303 claims relate to Defendants’ protests
   18   outside the DCHS Hospitals. As shown in our Opening Brief at pages 19-20, the
   19   additional facts Prime alleges at SAC ¶ 193 regarding Defendants’ July-August
   20   protests do nothing to establish coercion. In fact, they establish the opposite. The
   21   facts alleged by Prime confirm that the July and August protests are classic
   22   examples of non-coercive stationary picketing and bannering. 6 Prime also fails to
   23
        5
          The case Prime cites for this proposition, Small v. Operative Plasterers’ &
   24   Cement Masons’ Int’l Ass’n Local 200, 611 F.3d 483, 491-94 (9th Cir. 2010),
        rested on unusual facts in which the illegal objective “could be established as a
   25   matter of law under settled authorities”; Small has been distinguished on these
        grounds. See Jones v. Sprinkler Fitters Local Union 669, No. CV13-3015-GHK
   26   (JPRx), 2013 WL 5539291, at *3 (C.D. Cal. July 24, 2013).
   27   6
          Prime does not even allege that the SEIU and CtW defendants participated in the
        various protests, or that any Defendant participated in the August 12 protest. See
   28   SAC ¶ 193.
                                              8                                  14cv2553
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    1   plausibly allege any injury arising from these protests. Prime’s conclusory
    2   allegations of injury at SAC ¶¶ 205-207 arising from unspecified “secondary
    3   conduct” (none of which even specifically mentions the July or August protests)
    4   fail for the reasons described above.
    5   IV.   Prime’s Defense of its Claims as to the SEIU and CtW Defendants Fails.
    6         As we noted at page 3, footnote 2 above, this Court’s Fontalvo decision
    7   strongly rejects mere formulaic recitations, labels, and conclusions in lieu of
    8   specific allegations supporting plausible entitlement to relief. That analysis also
    9   applies to the SEIU and CtW defendants’ alleged liability, as co-conspirators and
   10   agents, particularly after the Ninth Circuit’s recent decision in UBC [see Dkt.
   11   #74-1, Opening Brief, pp. 23-25].
   12         Prime’s defense of its SAC in this regard falls well short of the UBC mark.
   13   It proffers only its generalized, disconnected background allegations that: in 1988
   14   SEIU published, and in 2005 republished, a Contract Campaign Manual, SAC
   15   ¶¶ 75, 88, and 90; the Defendants have governing documents that describe their
   16   relationship, and they exchange revenues and reimbursements and sometimes share
   17   personnel, SAC ¶¶ 26, 101-111; and the Defendants entered into an “agreement,”
   18   “directed” each other, “conspired,” shared an extortionate “goal,” and
   19   “coordinated” and approved an “extortionate” campaign, SAC ¶¶ 5-6, 8, 10-11, 15,
   20   17, 27-29, and 33-36.
   21         Not only do these background “facts” fail to answer “the basic questions
   22   framed by the claims involving new [non-claim precluded] conduct: who, did
   23   what, to whom (or with whom), where, and when?” UBC, 770 F.3d at 842, but the
   24   allegations purporting to describe the participation of SEIU and CtW in that new
   25   conduct are just as formulaic and conclusory in that they merely rely on Prime's
   26   earlier vague portrayal of the relationship among UHW, SEIU, and CtW to
   27   implicate the SEIU and CtW defendants in any alleged misconduct. See SAC
   28   ¶¶ 140-142, 162, 174, 177-208, 230-37, 242-250, 253-316. In short, Prime’s
                                                9                                 14cv2553
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    1   allegations regarding the SEIU and CtW defendants “stop[] short of the line
    2   between possibility and plausibility of entitlement to relief.” Fontalvo, supra.
    3         Finally, contrary to Prime’s assertion, UBC cannot be distinguished on the
    4   ground that the alleged co-conspirators there were third parties. UBC cites with
    5   approval Kendall v. U.S.A., Inc., 518 F.3d 1042 (9th Cir. 2008), in which, as here,
    6   the alleged co-conspirators were named as defendants. See UBC at 842; Kendall at
    7   1048 & 1050. No formulaic pleading exception exists for conspiracy or agency.
    8                                        Conclusion
    9         For these reasons, and those stated in our Opening Brief, Prime’s SAC
   10   should be dismissed in its entirety, with prejudice. In this regard, we note that
   11   Prime has neither requested leave to file a third amended complaint in the event
   12   that its SAC is dismissed, nor made any effort to rebut the showing at pages 21-23
   13   of our Opening Brief that affording Prime such an opportunity is unwarranted here.
   14
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              I certify that the content of this document is acceptable to all persons signing
   27   the document and have authorization for the electronic signatures of all parties on
        the document.
   28                                            s/ Glenn Rothner
                                              10                                  14cv2553
